     Case 2:90-cv-00520-KJM-DB Document 6823 Filed 08/18/20 Page 1 of 25


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10

11                               IN THE UNITED STATES DISTRICT COURT

12                            FOR THE EASTERN DISTRICT OF CALIFORNIA

13                                          SACRAMENTO DIVISION

14

15
     RALPH COLEMAN, et al.,                                  Case No. 2:90-cv-00520 KJM-DB (PC)
16
                                               Plaintiffs,   DEFENDANTS’ CENSUS, WAITLISTS,
17                                                           AND TRANSFER TIMELINES
                      v.                                     COMPLIANCE REPORTS FOR
18                                                           INPATIENT MENTAL HEALTH CARE

19   GAVIN NEWSOM, et al.,

20                                           Defendants.

21

22          Defendants California Department of Corrections and Rehabilitation (CDCR) and

23   Department of State Hospitals (DSH) file the attached reports capturing data concerning patient

24   census, waitlists, and compliance with transfer timelines for inpatient mental health care in

25   compliance with the Court’s October 13, 2015 order. (ECF No. 5367.) Attached are letters from

26   DSH and CDCR enclosing the following census and inpatient reports, as modified by the Court’s

27   April 19, 2017 order (ECF No. 5610): (1) DSH CDCR Patient Census and Waitlist Report

28   (Exhibit A); (2) DSH Psychiatric Inpatient Timelines Compliance Report, Patients Admitted
     [3419376.1]                                    1
       Defs.’ Census, Waitlists and Compliance Reports for Inpatient Mental Health Care (2:90-cv-00520 KJM-DB (PC))
     Case 2:90-cv-00520-KJM-DB Document 6823 Filed 08/18/20 Page 2 of 25


 1   July 1 through July 31, 2020 Who Waited Beyond Program Guide Timelines (Exhibit B);

 2   (3) CDCR Psychiatric Inpatient Programs (PIP) Coleman Patient Census and Waitlist Report as

 3   of July 27, 2020 (Exhibit C); (4) CDCR Mental Health Crisis Bed Coleman Patient Census and

 4   Waitlist Report as of July 27, 2020 (Exhibit D); (5) Psychiatric Inpatient Programs Census Report

 5   as of 7/27/20 (Exhibit E); and (6) CDCR Inpatient Program Referrals: Compliance with Program

 6   Guide Timeframes for Acute and Intermediate Referrals Admitted or Closed in July 2020

 7   (Exhibit F).

 8             The compliance reports at Exhibits B and F show 18 patients admitted to inpatient

 9   programs in July 2020 transferred beyond Program Guide timelines based on delays caused by

10   COVID-19.

11     Dated: August 18, 2020                                     XAVIER BECERRA
                                                                  Attorney General of California
12                                                                ADRIANO HRVATIN
                                                                  Supervising Deputy Attorney General
13
                                                                  /S/ ELISE OWENS THORN
14
                                                                  Elise Owens Thorn
15                                                                Deputy Attorney General
                                                                  Attorneys for Defendants
16

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28
     [3419376.1]                                           2
       Defs.’ Census, Waitlists and Compliance Reports for Inpatient Mental Health Care (2:90-cv-00520 KJM-DB (PC))
            Case 2:90-cv-00520-KJM-DB Document 6823 Filed 08/18/20 Page 3 of 25
State of California – Department of State Hospitals                       Gavin Newsom, Governor
   Office of the Director
   1600 9th Street, Room 151
   Sacramento, California 95814
   www.dsh.ca.gov




     August 17, 2020

     Adriano Hrvatin, Esq.
     Elise Owens Thorn, Esq.
     California Department of Justice
     455 Golden Gate Avenue, Suite 11000
     San Francisco, CA 94102-5500

     Re:      DEFENDANTS’ CENSUS, WAITLISTS AND TRANSFER TIMELINES
              COMPLIANCE REPORTS FOR INPATIENT MENTAL HEALTH CARE

     Dear Mr. Hrvatin and Ms. Thorn:

     The California Department of State Hospitals (DSH) submits its monthly information on
     patient census, referrals, waitlists, and transfer timeline compliance for inpatient mental
     health care.

     The DSH CDCR Patient Census and Waitlist Report as of July 27, 2020, attached as
     Exhibit A, and the DSH Psychiatric Inpatient Timelines Compliance Report, Patients
     Admitted July 1, 2020 through July 31, 2020 Who Waited Beyond Program Guide
     Timelines, attached as Exhibit B, are based on data from the DSH Bed Utilization
     Management Report.

     The report attached as Exhibit A reflects data collected at a single point in time and, as a
     result, should not be used for purposes outside of that report. The report attached as
     Exhibit B is the compliance report from DSH, which includes requested compliance data
     for all DSH level of care referrals admitted to inpatient care in July 2020, for any inmate-
     patient who waited beyond the timelines specified in the Mental Health Services Delivery
     System Program Guide (2009 Revision) at 12-1-16.
      Case 2:90-cv-00520-KJM-DB Document 6823 Filed 08/18/20 Page 4 of 25
August 18, 2020
Page Two

DSH also reports that as of July 31, 2020, there were 5 patients from facilities that had
lifted COVID-19 holds waiting beyond Program Guide transfer timelines. These referrals
are from a psychiatric inpatient program and the patients were in the process of COVID-
19 testing prior to transfer to DSH. In addition, DSH’s records show seven patients from
facilities with active COVID-19-related holds waiting beyond Program Guide transfer
timelines. DSH records also show there were two patients that had COVID-19 holds lifted
who were admitted to DSH in July 2020 beyond thirty days. Those patients were not
reported on the Program Guide compliance report because they were transferring from an
intermediate care facility level of care to their least restrictive housing, DSH intermediate
care in unlocked dorms.

                                            Sincerely,

                                            /s/ Stephanie Clendenin
                                            STEPHANIE CLENDENIN
                                            Director
                                            Department of State Hospitals

                    “Caring Today for a Safe and Healthy Tomorrow”
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                     Exhibit A
 State of California                                                                                                                                                                                                                               GAVIN NEWSOM, Governor

 DIVISION OF HOSPITAL STRATEGIC PLANNING ANDCase
                                             IMPLEMENTATION
                                                   2:90-cv-00520-KJM-DB                                                     Document 6823 Filed 08/18/20 Page 6 of 25
 Patient Management Unit
 1600 Ninth Street, Room 420
 Sacramento, CA 95814



                                                                                                          DSH CDCR Patient Census and Waitlist Report
                                                                                                                            Data as of: 7/27/20
 Acute Care Patients
                                                                                                              Beds          Medical Isolation
     DSH Facility - Acute - Female      Bed Capacity             Census              Beds on Hold1                                                 Available Beds                                    Waitlist                                Total Patients
                                                                                                            Redlined2           Rooms3
                                                                                                                                                                                                                                           Awaiting Admission
                                                                                                                                                                        Referrals Pending               Accepted Referrals
                       Patton6                -                      0                      0                   0                   0                     0
                                                                                                                                                                             Review              CDCR Prison4          CDCR PIP5                     0
                        Total                 -                      0                      0                   0                   0                     0                     0                       0                        0     (Includes 0 Waiting >10 Days)


 Intermediate Care Low Custody - Unlocked Dorms
                                                                                                              Beds          Medical Isolation
     DSH Facility - Unlocked Dorms      Bed Capacity             Census              Beds on Hold1                                                 Available Beds                                   Waitlist7                                Total Patients
                                                                                                            Redlined2           Rooms3
                                                                                                                                                                                                                                           Awaiting Admission
                   Atascadero                256                    210                     0                   0                   0                    46             Referrals Pending                   Accepted Referrals
                       Coalinga              50                     43                      0                   0                   0                     7                  Review              CDCR Prison4              CDCR PIP5                 29

                        Total                306                    253                     0                   0                   0                    53                     8                       6                        15    (Includes 13 Waiting >30 Days)8


 Intermediate Care Low Custody - Unlocked Dorms - Female

  DSH Facility - Unlocked Dorms -                                                                             Beds          Medical Isolation
                                        Bed Capacity             Census              Beds on Hold1                                                 Available Beds                                   Waitlist7                                Total Patients
              Female                                                                                        Redlined2           Rooms3
                                                                                                                                                                                                                                           Awaiting Admission
                                                                                                                                                                        Referrals Pending               Accepted Referrals
                       Patton6               30                      9                      0                   0                   0                    11
                                                                                                                                                                             Review              CDCR Prison4          CDCR PIP5                     4
                        Total                30                      9                      0                   0                   0                    11                     0                       4                        0     (Includes 0 Waiting >30 Days)

 1
 Beds on hold are assigned for internal patient movement and patients waiting to transfer to DSH. When allocated Coleman beds are at maximum capacity within the facility, beds with patients pending discharge may be placed on hold for accepted patients to
 maximize bed utilization. This may result in negative totals for available beds, but does not necessarily imply exceeding capacity.
 2
   Redlined beds are temporarily unavailable due to repairs.
 3
   Medical isolation rooms are required for licensing and physically differ from the other housing in the program, i.e., have showers or restricted sightlines into the cell, and are deemed inappropriate for everyday use.
 4
   Direct referrals from a CDCR prison for patients awaiting transfer to DSH for inpatient treatment.
 5
   Referrals for patients currently receiving inpatient treatment within a CDCR PIP referred to DSH for stepdown of LRH or Level of Care change.
 6
   Beds at DSH-P are for female patients only.
 7
   Waitlist includes 20 referrals on hold by CDCR.
 8
   Patients waiting >30 days are due to COVID-19 holds on referring facilities, which may include COVID-19 holds recently lifted.




Source: BUMMs                                                                                                                       1 of 1
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                     Exhibit B
State of California                                                                                                                                                                                            GAVIN NEWSOM, Governor

DIVISION OF HOSPITAL STRATEGIC PLANNING
                                    CaseAND2:90-cv-00520-KJM-DB
                                            IMPLEMENTATION      Document 6823 Filed 08/18/20 Page 8 of 25
Patient Management Unit
1600 Ninth Street, Room 420
Sacramento, CA 95814




                                                                                  DSH Psychiatric Inpatient Timelines Compliance Report
                                                                  Patients Admitted July 1 through July 31, 2020 Who Waited Beyond Program Guide Timelines


                                     Level of Care                                        Patients Waiting Outside Program Guide Timelines3                              Days Waited Outside Program Guide Timelines4

                              Intermediate Care Admissions                                                          0                                                                         0
                                        Subtotal                                                                    0                                                                         0
                                                                             1
     Exceptions to Program Guide Timelines - OTC, OTH, and Medical Holds                                            0                                                                         0
               Exceptions to Program Guide Timelines - Internal Referrals2                                          0                                                                         0
               Total Excluding Exceptions to Program Guide Timelines                                                0                                                                         0

1
 Includes exceptions to the Program Guide timelines for referrals on hold for patients with out-to-court status, out-to-hospital status, and medical holds.
2
 Includes exceptions to the Program Guide timelines for CDCR patients currently receiving inpatient treatment within a DSH program and have been referred for internal movement within DSH.
3
 Including patients admitted in July 2020 who waited greater than 30 days from the referral received date to DSH for a change in level of care.
4
 Includes the total number of days patients admitted in July 2020 waited beyond 30 days from the referral received date to DSH for a change in level of care.




Source: BUMMs                                                                                                    1 of 2
 State of California                                                                                                                                                                    GAVIN NEWSOM, Governor

 DIVISION OF HOSPITAL STRATEGIC PLANNING Case
                                         AND IMPLEMENTATION
                                                2:90-cv-00520-KJM-DB                                 Document 6823 Filed 08/18/20 Page 9 of 25
 Patient Management Unit
 1600 Ninth Street, Room 420
 Sacramento, CA 95814




                                                                              DSH Psychiatric Inpatient Timelines Compliance Report
                                                               Patients Admitted July 1 through July 31, 2020 Who Waited Beyond Program Guide Timelines
 Patients Admitted to Intermediate Care
                                                                                          Number of Days
                                                                                                                                                  Total Days Waited
                                                    CDCR Direct/          Total Days on       Waited
                       Name               CDCR #                                                            Total Days on Hold   Exclusion Days       Excluding       Exception Reason(s)
                                                    DSH Internal             Waitlist     Beyond Program                                                        1
                                                                                                                                                     Exceptions
                                                                                          Guide Timelines
                        -                   -              -                    -                -                  -                  -                  -                    -
   Total Number of Patients Waiting                Total Number of
                                            0                                  0                 0                  0                  0                  0                    -
            Over 30 Days                           Days All Patients




Source: BUMMs                                                                                           2 of 2
              Case 2:90-cv-00520-KJM-DB Document 6823 Filed 08/18/20
STATE OF CALIFORNIA — DEPARTMENT OF CORRECTIONS AND REHABILITATION
                                                                       Page 10 of 25
                                                                 EDMUND G. BROWN JR., GOVERNOR

DIVISION OF HEALTH CARE SERVICES
STATEWIDE MENTAL HEALTH PROGRAM
P.O. Box 588500
Elk Grove, CA 95758




        August 17, 2020

        Adriano Hrvatin, Esq.
        Elise Owens Thorn, Esq.
        California Department of Justice
        455 Golden Gate Avenue, Suite 11000
        San Francisco, CA 94102-5500

        RE:      DEFENDANTS’ CENSUS, WAITLISTS AND TRANSFER TIMELINES
                 COMPLIANCE REPORTS FOR INPATIENT MENTAL HEALTH CARE

        Dear Mr. Hrvatin and Ms. Thorn:
               The California Department of Corrections and Rehabilitation (CDCR) submits its monthly
        information on patient census, referrals, waitlists, and transfer timeline compliance for inpatient
        mental health care.

               The CDCR Psychiatric Inpatient Programs (PIP) Coleman Patient Census and Waitlist
        Report as of July 27, 2020 (Exhibit C), the CDCR Mental Health Crisis Bed Coleman Patient
        Census and Waitlist Report as of July 27, 2020 (Exhibit D), the Psychiatric Inpatient Programs
        Census Report as of 7/27/2020 (Exhibit E), and the CDCR Inpatient Program Referrals:
        Compliance with Program Guide Timeframes for Acute and Intermediate Referrals Admitted or
        Closed in July 2020 (Exhibit F), are generated using data from CDCR’s tracking software, the
        Referrals to Inpatient Programs Application.

                The reports attached as Exhibits C and D reflect data collected at a single point in time
        and, as a result, should not be used for purposes outside of those reports. The reports attached as
        Exhibit F are compliance reports from CDCR, which include requested compliance data for all
        referrals admitted to inpatient care in July 2020, for any inmate-patient who waited beyond the
        timelines specified in the Mental Health Services Delivery System Program Guide (2009
        Revision) at 12-1-16.
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August 17, 2020
Page Two
        Although not reflected in CDCR’s census and waitlist report and PIP census report at
Exhibits C and E, the California Medical Facility’s PIP is operating with thirteen beds offline
due to staffing shortages (psychiatry and nursing) and an additional two beds offline within dorm
housing in order to achieve physical distancing.

Sincerely,

/s/ Amar Mehta
AMAR MEHTA, M.D.
Deputy Director (A)
Statewide Mental Health Program
Case 2:90-cv-00520-KJM-DB Document 6823 Filed 08/18/20 Page 12 of 25




                     Exhibit C
                                                                                             CDCR Psychiatric Inpatient Programs (PIP)
                                                                                         Coleman Patient Census and Waitlist Report as of
                                                                  Case     2:90-cv-00520-KJM-DB Document  July 27, 2020
                                                                                                                         6823 Filed                                     08/18/20 Page 13 of 25
                                                                                                                            Medical
                                                                                          Beds             Beds                            Available
MALE ACUTE PIPs                                        Bed Capacity        Census                                          Isolation
                                                                                        Reserved1        Redlined2                           Beds             Pending             Accepted                              Total Acute Referrals
                                                                                                                            Rooms3                                                                   Total Waitlist
                                                                                                                                                             Referrals4           Referrals5                             Waiting > 10 Days
California Health Care Facility (CHCF)                      161              113             2               0                 7               39
California Medical Facility (CMF)                           207              183             1               0                 0               23
Total                                                       368              296             3               0                 7               62                107                   1                   108                     2

                                                                                                                            Medical
                                                                                           Beds                                            Available                                                                                                Total Intermediate
MALE INTERMEDIATE LOCKED DORM PIP                      Bed Capacity        Census                     Beds Redlined        Isolation                                               Accepted
                                                                                         Reserved                                            Beds        Pending Referrals                           Total Waitlist                                  Referrals Waiting
                                                                                                                            Rooms                                                  Referrals
                                                                                                                                                                                                                                                        > 30 Days
CMF                                                          84              61              1               0                 0               22
Total                                                        84              61              1               0                 0               22                 1                    0                    1                                                 0

                                                                                                                            Medical
                                                                                           Beds                                            Available
MALE INTERMEDIATE HIGH CUSTODY PIPs                    Bed Capacity        Census                     Beds Redlined        Isolation
                                                                                         Reserved                                            Beds
                                                                                                                            Rooms
                                                                                                                                                                                                                                                    Total Intermediate
CHCF Single Cell                                            356              343             10              0                11               -8                                  Accepted
                                                                                                                                                         Pending Referrals                           Total Waitlist                                  Referrals Waiting
CMF Multi Cell                                              68               41              2               0                 0               25                                  Referrals
                                                                                                                                                                                                                                                        > 30 Days
CMF Single Cell                                             105              102             3               0                 0               0
SVSP Multi Cell                                             44               34              3               0                 0               7
SVSP Single Cell                                            202              165             3               2                 0               32
Total                                                       775              685             21              2                11               56                193                   6                   199                                               16

                                                                                                                            Medical
                                                                                           Beds                                            Available
MALE HIGH CUSTODY PIP                                  Bed Capacity        Census                     Beds Redlined        Isolation                                                                                                                Total Intermediate
                                                                                         Reserved                                            Beds                                  Accepted                             Total Acute Referrals
                                                                                                                            Rooms                        Pending Referrals                           Total Waitlist                                  Referrals Waiting
                                                                                                                                                                                   Referrals                             Waiting > 10 Days
CSP, San Quentin (Condemned)                                 30              23              0               0                 0               7                                                                                                        > 30 Days
CSP, San Quentin (Non-Condemned)                             10              4               0               0                 0               6
Total                                                        40              27              0               0                 0               13                 1                    0                    1                      0                          0

                                                                                                                            Medical
                                                                                           Beds                                            Available                                                                                                Total Intermediate
FEMALE HIGH CUSTODY PIP                                Bed Capacity        Census                     Beds Redlined        Isolation                                               Accepted                             Total Acute Referrals
                                                                                         Reserved                                            Beds        Pending Referrals                           Total Waitlist                                  Referrals Waiting
                                                                                                                            Rooms                                                  Referrals                             Waiting > 10 Days
                                                                                                                                                                                                                                                        > 30 Days
California Institution for Women                             45              28              0               0                 0               17
Total                                                        45              28              0               0                 0               17                 4                    0                    4                      0                          0

                                                                                                                            Medical                                                                                                                 Total Intermediate
                                                                                           Beds                                            Available                               Accepted                             Total Acute Referrals
                                                       Bed Capacity        Census                     Beds Redlined        Isolation                     Pending Referrals                           Total Waitlist                                  Referrals Waiting
                                                                                         Reserved                                            Beds                                  Referrals                             Waiting > 10 Days
                                                                                                                            Rooms                                                                                                                       > 30 Days
GRAND TOTALS - ALL PIPs                                     1312            1097             25              2                18              170                306                   7                  313                       2                        16
                                                                                                                                                                                                        6 DSH
1
  Beds Reserved - Beds held or endorsed to by the Health Care Placement Oversight Program (HCPOP) for a specific patient. The referral is either pending clinical acceptance by the PIP or the patient is pending transfer to the PIP.
2
  Beds Redlined - Beds are temporarily unavailable fpr patient placement due to repairs or single cell status (if a two-man cell).
3
  Medical Isolation Rooms - Rooms are required for licensing and physically differ from the other housing cells in the program, i.e., have showers or restricted sightlines into the cell, and are deemed inappropriate for everyday use.
4
  Pending Referrals - Includes all referrals received by the Mental Health Inpatient Referrals Unit (new inpatient referral, level of care transfers, least restrictive housing transfers) that are pending a clinical referral review, least restrictive housing
determination, HCPOP endorsement/bed vacancy, or inpatient program acceptance.
5
  Accepted Referrals - Includes all referrals that have been endorsed to a bed, have been accepted by the inpatient program, and are awaiting transfer.

* There are 2 APP referrals, waiting greater than 10 days, that are pending exceptions due to COVID-19.
**There are 15 ICF referrals, waiting greater than 30 days, that are pending exceptions due to COVID-19; and there is 1 ICF referral, waiting greater than 30 days, that is pending a medical hold exception.




Data Source: RIPA                                                                                                                                                                                                        CCHCS, Health Care Placement Oversight Program
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                     Exhibit D
                               Case 2:90-cv-00520-KJM-DB Document 6823 Filed 08/18/20 Page 15 of 25

                                              CDCR Mental Health Crisis Bed
                                      Coleman Patient Census and Waitlist Report as of
                                                       July 27, 2020


                                                                                                                 Total Pending
CDCR MHCB                                               Beds     Available   Total Pending
                     Bed Capacity        Census                                              Beds Assigned         Referrals
Programs                                              Redlined     Beds        Referrals
                                                                                                                  > 24 hours
Male Programs            424              243            8         173            1                 1                  0
Female Programs          41                12            0         29             0                 0                  0
            Totals       465              255            8         202            1                 1                  0




Data Source: HEART                                                                      CCHCS, Health Care Placement Oversight Program
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                      Exhibit E
                                Case 2:90-cv-00520-KJM-DB Document 6823 Filed 08/18/20 Page 17 of 25                                                Monday, 7/27/2020

                                                                                                                                                        Time: 04:30 PM



                                          PSYCHIATRIC INPATIENT PROGRAMS CENSUS AS OF 07/27/2020
                     Facility                                 Bed Capacity                                       Beds Occupied
                                                              Male Acute Care Programs
                                        PIP-Vacaville              207                No Score:                                                       2
                                                                                      Level I:                                                        11
                                                                                      Level II:                                                       37
                                                                                      Level III:                                                      31
                                                                                      Level IV                                                       102
                                                                                      Total Census:                                                  183
                                        PIP-Stockton               161                No Score:                                                       2
                                                                                      Level I:                                                        10
                                                                                      Level II:                                                       29
                                                                                      Level III:                                                      12
                                                                                      Level IV                                                        60
                                                                                      Total Census:                                                  113
                                      DSH-Atascadero                0                 No Score:                                                       0
                                                                                      Level I:                                                        0
                                                                                      Level II:                                                       0
                                                                                      Level III:                                                      0
                                                                                      Level IV                                                        0
                                                                                      Total Census:                                                   0
              Totals for Male Acute                                368                                                                               296
                                                Male Intermediate Care Facility (High Custody) Programs
                                        PIP-Stockton               356                No Score:                                                      2
                                                                                      Level I:                                                       12
                                                                                      Level II:                                                      48
                                                                                      Level III:                                                     32
                                                                                      Level IV                                                      249
                                                                                      Total Census:                                                 343
                                                                                      Total out of LRH:                                             205
                                        PIP-Vacaville              105                No Score:                                                      1
                                                                                      Level I:                                                       3
                                                                                      Level II:                                                      15
                                                                                      Level III:                                                     16
                                                                                      Level IV                                                       67
                                                                                      Total Census:                                                 102
                                                                                      Total out of LRH:                                             41
                                  PIP-Vacaville Multi-              68                No Score:                                                      0
                                         person Cells
                                                                                      Level I:                                                       0
                                                                                      Level II:                                                      7
                                                                                      Level III:                                                     5
                                                                                      Level IV                                                       29
                                                                                      Total Census:                                                  41
                                                                                      Total out of LRH:                                              11




                                                                                                          CCHCS, Health Care Placement Oversight Program
Page 1 of 3                                                                                               Referrals to Inpatient Programs Application (RIPA)
                             Case 2:90-cv-00520-KJM-DB Document 6823 Filed 08/18/20 Page 18 of 25                                                 Monday, 7/27/2020

                                                                                                                                                      Time: 04:30 PM



                                        PSYCHIATRIC INPATIENT PROGRAMS CENSUS AS OF 07/27/2020
                  Facility                                   Bed Capacity                                      Beds Occupied
                                  PIP-Salinas Valley             202                No Score:                                                       1
                                                                                    Level I:                                                        4
                                                                                    Level II:                                                       18
                                                                                    Level III:                                                      16
                                                                                    Level IV                                                       117
                                                                                    PC 1370:                                                        7
                                                                                    WIC 7301:                                                       2
                                                                                    Total Census:                                                  165
                                                                                    Total out of LRH:                                              63
               PIP-Salinas Valley Multi-person Cells              44                No Score:                                                       0

                                                                                    Level I:                                                        1
                                                                                    Level II:                                                       8
                                                                                    Level III:                                                      6
                                                                                    Level IV                                                        17
                                                                                    PC 1370:                                                        1
                                                                                    WIC 7301:                                                       0
                                                                                    Total Census:                                                   33
                                                                                    Total out of LRH:                                              14
    Totals for Male ICF High Custody                              775                                                                              684
                                               Male Intermediate Care Facility (Low Custody) Programs
                                PIP-Vacaville Dorms               84                No Score:                                                       0
                                                                                    Level I:                                                        0
                                                                                    Level II:                                                       18
                                                                                    Level III:                                                      14
                                                                                    Level IV                                                        29
                                                                                    Total Census:                                                   61
                                                                                    Total out of LRH:                                              15
                                   DSH-Atascadero                 256               No Score:                                                       0
                                                                                    Level I:                                                        33
                                                                                    Level II:                                                      121
                                                                                    Level III:                                                      23
                                                                                    Level IV                                                        34
                                                                                    Total Census:                                                  211
                                       DSH-Coalinga               50                No Score:                                                       0
                                                                                    Level I:                                                        3
                                                                                    Level II:                                                       21
                                                                                    Level III:                                                      6
                                                                                    Level IV                                                        13
                                                                                    Total Census:                                                   43
    Totals for Male ICF Low Custody                               390                                                                              315
                                                                  Male Programs
                                   PIP-San Quentin                30                Total Census:                                                  23




                                  PIP-San Quentin                 10                No Score:                                                      0
                                  Non-condemned                                     Level I:                                                       0
                                                                                    Level II:                                                      0
                                                                                    Level III:                                                     1
                                                                                    Level IV:                                                      3
                                                                                    Total Census:                                                  4
              Totals for Male                                     40                                                                               27
                ICF/Acute




                                                                                                        CCHCS, Health Care Placement Oversight Program
Page 2 of 3                                                                                             Referrals to Inpatient Programs Application (RIPA)
                            Case 2:90-cv-00520-KJM-DB Document 6823 Filed 08/18/20 Page 19 of 25                                                    Monday, 7/27/2020

                                                                                                                                                          Time: 04:30 PM



                                       PSYCHIATRIC INPATIENT PROGRAMS CENSUS AS OF 07/27/2020
                 Facility                                   Bed Capacity                                         Beds Occupied
                                                               Female Programs
                                       DSH-Patton                30                No Score:                                                          0
                                                                                   Level I:                                                           2
                                                                                   Level II:                                                          6
                                                                                   Level III:                                                         0
                                                                                   Level IV                                                           1
                                                                                   Total Census:                                                      9
               PIP-California Institution for Women              45                No Score:                                                          3

                                                                                   Level I:                                                          4
                                                                                   Level II:                                                         7
                                                                                   Level III:                                                        1
                                                                                   Level IV                                                          12
                                                                                   WIC 7301:                                                         1
                                                                                   Total Census:                                                     28
                                                                                   Total out of LRH:                                                 8
       Totals for Female ICF/Acute                                75                                                                                 37
                                          Total Inpatient Program Capacity and Census - Male and Female
              GRAND TOTALS                                      1648                                                                                1359




                                                                                                          CCHCS, Health Care Placement Oversight Program
Page 3 of 3                                                                                               Referrals to Inpatient Programs Application (RIPA)
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                      Exhibit F
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                                                 CDCR INPATIENT PROGRAM REFERRALS:
                            COMPLIANCE WITH PROGRAM GUIDE TIMEFRAMES FOR ACUTE AND INTERMEDIATE REFERRALS
                                                   ADMITTED OR CLOSED IN JULY 2020

                                                      Patients        Patients     Referrals Resulting
                                                                                                        Exceptions to     Number of   Total Days
      CDCR IDTT                   Total           Admitted Within Admitted Outside     in Rescind,
                                                                                                       Program Guide Referrals Out      Out of
     Referral Type              Referrals          Program Guide Program Guide        Rejection, or                 [2]
                                                               [1]                                     Timeframes       of Compliance Compliance
                                                   Timeframes       Timeframes      Parole/Discharge

  Intermediate (ICF)               64                     42                  2                    20                   2                  0               0
     Acute (APP)                   82                     16                  16                   50                  16                  0               0
       TOTALS                      146                    58                  18                   70                  18                  0               0



[1] Program Guide timeframes: Transfer within 30 days of referral for ICF, or within 10 days of referral for APP. Timeline begins when the completed referral is
received by the Mental Health Inpatient Referrals Unit (MH IRU); or if accepted at a Department of State Hospitals (DSH) program, upon DSH acceptance.
[2] Exceptions to the Program Guide timeframes in this report include: medical concerns and those referred that are on out-to-court status, out-to-hospital status,
and/or on medical or Vitek holds.




Data Source: Referrals to Inpatient Programs Application (RIPA)                                                   CCHCS, Health Care Placement Oversight Program
                                                                                 DETAIL OF APP OUT OF COMPLIANCE
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                                                                        Date Referral
                                             Referring    IDTT                                Date                                                 HCPOP LRH
Referral Referring                                                   Received Complete                               HCPOP LRH                                        HCPOP        HCPOP Endorsement
                       CDCR Nbr   LastName   Level Of    Referral                         Referral Sent                                           Determination
 Type    Institution                                                     by MHIRU                                   Determination                                 Endorsement Rx        Rx Date
                                               Care       Date                             To HCPOP                                                   Date
                                                                     (Timeframes Start)

  APP       CMF                               MHCB       7/15/2020       7/16/2020         7/30/2020         Acute / preliminary Single Cell       07/31/2020        APP: VPP      07/31/2020 09:59:00

  APP       CMF                               MHCB       6/25/2020       7/2/2020           7/2/2020      Acute / preliminary Multi Person Cell    07/02/2020        APP: VPP      07/02/2020 13:07:00

  APP       CMF                               MHCB       6/22/2020       6/23/2020         6/23/2020      Acute / preliminary Multi Person Cell    06/23/2020        APP: VPP      06/23/2020 16:55:00

  APP       CHCF                              MHCB       6/15/2020       6/19/2020         6/19/2020      Acute / preliminary Unlocked Dorms       06/19/2020       APP: CHCF      06/19/2020 15:28:00

  APP       KVSP                              MHCB       6/11/2020       6/15/2020         6/29/2020         Acute / preliminary Single Cell       06/30/2020       APP: CHCF      06/30/2020 11:32:00

  APP       KVSP                              MHCB       6/10/2020       6/11/2020         6/30/2020      Acute / preliminary Multi Person Cell    07/02/2020       APP: CHCF      07/02/2020 09:27:00

  APP       MCSP                              MHCB       5/29/2020       6/1/2020          6/26/2020         Acute / preliminary Single Cell       06/26/2020       APP: CHCF      06/26/2020 17:33:00

  APP        SAC                              MHCB       5/26/2020       5/27/2020         6/23/2020         Acute / preliminary Single Cell       06/26/2020        APP: VPP      06/26/2020 11:32:00

  APP        SAC                              MHCB       5/20/2020       5/21/2020          7/7/2020         Acute / preliminary Single Cell       06/30/2020       APP: CHCF      06/30/2020 09:00:00

  APP       SATF                              MHCB       5/4/2020        5/6/2020          6/19/2020      Acute / preliminary Unlocked Dorms       06/23/2020       APP: CHCF      06/23/2020 15:16:00

  APP        SAC                              MHCB       4/23/2020       4/30/2020          7/7/2020       Acute / preliminary Locked Dorms        07/07/2020       APP: CHCF      07/07/2020 14:10:00

  APP        RJD                              MHCB       4/20/2020       4/22/2020          7/7/2020         Acute / preliminary Single Cell       06/29/2020       APP: CHCF      06/29/2020 16:31:00

  APP        SAC                              MHCB       4/17/2020       4/21/2020          7/7/2020       Acute / preliminary Locked Dorms        07/07/2020       APP: CHCF      07/07/2020 14:45:00

  APP        SAC                              MHCB       4/16/2020       4/20/2020          7/7/2020      Acute / preliminary Multi Person Cell    07/07/2020       APP: CHCF      07/07/2020 15:01:00

  APP       CMC                               MHCB       4/8/2020        4/16/2020         6/19/2020      Acute / preliminary Multi Person Cell    06/22/2020        APP: VPP      06/22/2020 18:20:00

  APP        SAC                              MHCB       4/10/2020       4/14/2020          7/7/2020         Acute / preliminary Single Cell       06/29/2020       APP: CHCF      06/29/2020 12:34:00
                                                                                     DETAIL OF APP OUT OF COMPLIANCE
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                                                                                                                                                                  Day from        Within   Days over
  HCPPOP            HCPOP           Accepting   Date Placed
                                                                                              Inpatient Program                Comments for           Referral   Referral to     Program    Program
Endorsement      Endorsement        Inpatient   on Accepted      Inpatient Program Admitted
                                                                                               Admit Date/Time               DELAY/EXCEPTION           Status    MH IRU and       Guide      Guide
  Location        Date/Time         Program     Referrals List
                                                                                                                                                                 Admission     Timeframes Timeframes
                                                                                                                    EXCEPTION: COVID-19
  APP: VPP    07/31/2020 09:59:00   APP: VPP     07/31/2020               APP: VPP            07/31/2020 14:04:00                                     Admitted       15            N          5
                                                                                                                    EXCEPTION: COVID-19
  APP: VPP    07/02/2020 13:07:00   APP: VPP     07/15/2020               APP: VPP            07/15/2020 10:58:00                                     Admitted       13            N          3
                                                                                                                    EXCEPTION: COVID-19
  APP: VPP    06/25/2020 16:06:00   APP: VPP     07/06/2020               APP: VPP            07/06/2020 00:25:00                                     Admitted       13            N          3
                                                                                                                    EXCEPTION: COVID-19
 APP: CHCF    06/19/2020 15:28:00   APP: CHCF    07/07/2020              APP: CHCF            07/07/2020 12:57:00                                     Admitted       18            N          8
                                                                                                                    EXCEPTION: COVID-19
 APP: CHCF    06/30/2020 11:32:00   APP: CHCF    07/07/2020              APP: CHCF            07/08/2020 15:51:28                                     Admitted       23            N          13

                                                                                                                    EXCEPTION: COVID-19
 APP: CHCF    07/02/2020 09:27:00   APP: CHCF    07/07/2020              APP: CHCF            07/08/2020 15:54:09                                     Admitted       27            N          17
                                                                                                                    EXCEPTION: COVID-19
 APP: CHCF    06/27/2020 16:09:00   APP: CHCF    07/03/2020              APP: CHCF            07/06/2020 15:22:00                                     Admitted       35            N          25
                                                                                                                    EXCEPTION: COVID-19
 APP: CHCF    06/29/2020 15:36:00   APP: CHCF    06/30/2020              APP: CHCF            07/01/2020 12:40:09                                     Admitted       35            N          25
                                                                                                                    EXCEPTION: COVID-19
 APP: CHCF    07/07/2020 15:29:00   APP: CHCF    07/07/2020              APP: CHCF            07/08/2020 15:55:44                                     Admitted       48            N          38

                                                                                                                    EXCEPTION: COVID-19
 APP: CHCF    06/24/2020 14:51:00   APP: CHCF    07/07/2020              APP: CHCF            07/07/2020 16:34:00                                     Admitted       62            N          52

                                                                                                                    EXCEPTION: COVID-19
 APP: CHCF    07/07/2020 14:10:00   APP: CHCF    07/07/2020              APP: CHCF            07/08/2020 16:07:30                                     Admitted       69            N          59

                                                                                                                    EXCEPTION: COVID-19
 APP: CHCF    07/07/2020 14:47:00   APP: CHCF    07/07/2020              APP: CHCF            07/08/2020 16:09:24                                     Admitted       77            N          67
                                                                                                                    EXCEPTION: COVID-19
 APP: CHCF    07/07/2020 14:45:00   APP: CHCF    07/07/2020              APP: CHCF            07/08/2020 15:59:00                                     Admitted       78            N          68

                                                                                                                    EXCEPTION: COVID-19
 APP: CHCF    07/07/2020 16:20:00   APP: VPP     07/08/2020              APP: CHCF            07/08/2020 15:55:03                                     Admitted       79            N          69

                                                                                                                    EXCEPTION: COVID-19
 APP: CHCF    06/24/2020 15:46:00   APP: CHCF    07/03/2020              APP: CHCF            07/07/2020 12:14:02                                     Admitted       82            N          72

                                                                                                                    EXCEPTION: COVID-19
 APP: CHCF    07/07/2020 16:14:00   APP: CHCF    07/07/2020              APP: CHCF            07/08/2020 16:03:23                                     Admitted       85            N          75


                                                                                                                       TOTAL DAYS OUT OF COMPLIANCE                   0
                                                                       DETAIL OF ICF OUT OF COMPLIANCE
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                                                                            Date Referral
                                               Referring    IDTT                                Date                          HCPOP LRH
Referral    Referring                                                    Received Complete                   HCPOP LRH                             HCPOP               HCPOP Endorsement
                         CDCR Nbr   LastName   Level Of    Referral                         Referral Sent                    Determination
 Type      Institution                                                       by MHIRU                       Determination                      Endorsement Rx               Rx Date
                                                 Care       Date                             To HCPOP                            Date
                                                                         (Timeframes Start)


  ICF         SAC                              EOP-GP      5/19/2020         5/22/2020        6/29/2020     Unlocked Dorms    06/30/2020        ICF-Dorms: VPP         06/30/2020 13:30:00


                                                                                                             Locked Dorms     05/16/2020     ICF-High: SVPP (Single)   05/16/2020 13:51:00
  ICF        CHCF                                APP       5/13/2020         5/15/2020        5/15/2020
                                                                                                             Locked Dorms     07/06/2020         ICF-High: CHCF        07/06/2020 15:49:00
                                                                                              DETAIL OF ICF OUT OF COMPLIANCE
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                                                                                                                                                                         Day from        Within   Days over
      HCPPOP                    HCPOP                 Accepting           Date Placed
                                                                                           Inpatient Program   Inpatient Program            Comments for     Referral   Referral to     Program    Program
    Endorsement              Endorsement              Inpatient           on Accepted
                                                                                               Admitted         Admit Date/Time           DELAY/EXCEPTION     Status    MH IRU and       Guide      Guide
      Location                Date/Time               Program             Referrals List
                                                                                                                                                                        Admission     Timeframes Timeframes

                                                                                                                                     EXCEPTION: COVID-19
   ICF-Dorms: VPP         06/30/2020 13:30:00      ICF-Dorms: VPP          06/30/2020       ICF-Dorms: VPP     07/01/2020 10:39:06                           Admitted       40            N          10
                                                                                                                                     EXCEPTION: COVID-19
ICF-High: SVPP (Single)   06/16/2020 10:58:00   ICF-High: SVPP (Single)    06/16/2020
                                                                                            ICF-High: CHCF     07/27/2020 19:44:00                           Admitted       73            N          43
    ICF-High: CHCF        07/20/2020 14:40:00       ICF-High: CHCF         07/27/2020



                                                                                                                                         TOTAL DAYS OUT OF
                                                                                                                                                                            0
                                                                                                                                            COMPLIANCE
